Case:17-20315-EEB Doc#:273 Filed:08/07/18                   Entered:08/07/18 10:58:27 Page1 of 2



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF COLORADO

 In re:
                                                      Chapter 11
 COLORADO NATIONAL BANCORP,
 EIN: XX-XXXXXXX                                      Case No. 17-20315 EEB

          Debtor.

                          SUMMARY REPORT OF BALLOTS RECEIVED

        Colorado National Bancorp (the “Debtor”), by its counsel, Jackson Kelly PLLC, as
 proponents of the Second Amended Plan of Reorganization of Colorado National Bancorp Dated
 June 28, 2018 (the “Plan”), submits the following Summary Report of Ballots Received:

        1.      Class 1; Unsecured Claims; Impaired. Class 1 accepted the Plan. The Debtor
 received thirty-four (34) ballots representing $6,024,453.24 in Allowed Claims. The Debtor
 provides the following information with respect to the received ballots:

                     a.    All ballots the Debtor received voted to accept the Plan.

                 b.    Two Holders of Claims submitted two ballots; one for each of their
          Claims. As provided for in Section I B 3, the ballots were aggregated and counted as one
          vote.

                 c.     Five of the ballots received were from insiders representing $511,449.52
          in Allowed Claims.

                 d.      One ballot failed to insert the amount and the Debtor has included the
          amount that the Debtor scheduled for such creditor. Further, the ballot was signed by the
          beneficiary of an IRA rather than the trustee of the IRA.

                 e.      Two ballots were cast by Trusts of which an insider is the beneficiary
          representing an amount of $123,857.01.

                  f.     The Creditors’ Committee has filed an omnibus objection to claims [Dkt.
          No. 267] which, if sustained, would reduce the total dollar amount of Allowed Claims
          voting to accept the Plan by $71,520.44.

         2.     Class 2; Common Stock Interest; Impaired. One ballot accepting the Plan was
 received from a Holder of an Allowed Claim in Class 2 (Margaret A. Austin). The Plan provides
 that Class 2 was deemed to have rejected the Plan since Class 2 does not receive anything under
 the Plan.

       3.      Attached as Exhibit A is a spreadsheet showing the ballots obtained and counted
 by Debtor. Attached as Exhibit B are copies of the ballots.


 4839-1357-5535.v1
Case:17-20315-EEB Doc#:273 Filed:08/07/18   Entered:08/07/18 10:58:27 Page2 of 2



         DATED: August 7, 2018.

                                   JACKSON KELLY PLLC

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 4839-1357-5535.v1                   2
